           Case 3:18-cv-00683-VLB Document 141-24 Filed 10/01/19 Page 1 of 6

Colangelo, John

 ram:                            Nicole   Chase <n:icolechase0802-90@grnail.com>
Sent:                            Tuesday. July 25. 20177:27 PM
To:                              Colangelo, John
SubJect:                         Revise statment/ Nicole Chase



I came in about 2 weeks a:go to hand in the text from Jeremy and h-y to set up a time to revise my statment. The
dispatcher said u were busy and if you needed me youd call. That kind of confused me. Am I able to come in
and revise ·it or was it to late? I j11st want to know What my next ste.p is I guess.
Thanks,
  Nicole Chase




                                                                                                •   DEFENDANT'S
                                                                                                I     EXH!IT

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                                                                                            DEF00861

                                                                                         EXHIBIT U
             Case 3:18-cv-00683-VLB Document 141-24 Filed 10/01/19 Page 2 of 6

 Colangelo, John

   ·om:                             Nicole Chase   < nicolechase080290@gmail.com >
 ,ent:                              Monday, July 31, 2017 12:22 PM
 To:                                Colangelo, John
 Subject:                           Statement


 Good afternoon Detective Colangelo:




I would like to revise my Voluntary Statement. Attached is the supplemental information that I would like added to
_l"!:'Y. M~y 11, 2017 V9luntary §tateme~t.



Please let me know when you would lil<e me to come in, so that I may sign the revised statement.




Thank you,




l\licole Chase

tl60-480-7745




1° J~  Nicole Chase--Supplment to May 11, 2017 Voluntary Statement.docx




                                                                                               DEF00862

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Case 3:18-cv-00683-VLB Document 141-24 Filed 10/01/19 Page 3 of 6

             Nicole Chase

             Events on Saturday, May 6, 2017




             After Calvin puffed me in the men's bathroom he locked the door, leaned on the sink and said,
             "suck it because you don't get it at home". He then heard Kyle calling his name and mine he
             already had himself exposed and put his finger up to his mouth as in saying shhh. He had a very
             scary glare that scared me at that point. He said, "yep I'm in the bathroom goodnight l<yle". He
             pulled up. his penis and balls to push It towards my face it actually looked painful what he was
            doing. In this moment I froze completely, in shock, not ·knowing what was about to happen. He
            then took "one "fiand pushed ·my head cfown and the other·nand stlll j:iulfing· ftis" penis· arid sack ..
            towards me. Once my mouth was around him he became limp almost like he knew he was doing
            something wrong. He began to take the hand that was on my head and slam my face into hin:i
            the entire time until he got off and took his hands off me. I immediately but slowly still being in
            shock pushed Calvin and he hit his head on the tile waif while I continued to unlock the door and
            get out. I saw money bags, said, "don't forget them, then wall<ed out of the building around
            9:30pm. My morn's boyfriend took me home. I then couldn't let it go and texted the only
            person I trusted to give me good advice and that would say nothing to anybody till Iwas ready.




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                                                                                          DEF00863

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             Case 3:18-cv-00683-VLB Document 141-24 Filed 10/01/19 Page 4 of 6


  Colangelo, John

  From:                              Colangelo, John
  Sent:                              ThL1rsclay, ;.\ugust 10, 2017 8:21 Ai'vl
  To:                                'Nicole Chase'
  Subject:                           RE: Statement


 Nicole, I apologize for the delay as I was on vacation. I did ask Officer Gompper to reach out to you but he said he
 could not make phone contact. I understand you came down as dispatch told me you were here . I was asked if I
 needed to talk to you not that you were there to revise you statement. I was tied up on a different investigation at that
 moment and had no idea your intent was to give a new statement. Also at that point I had already documented the
 change in your recount of the incident and had already sent the case to court for review. It is still with the States
 Attorney's-office and I should hopefully-have some. direction of the next step shortly.

 Any questions feel free to contact me .

 Detective John Colangelo

 From: Nicole Chase [mailto:nitolechase080290@amail.com]
 Sent: Monday, July 31, 2017 12:22 PM
 To: Colangelo, John
 Subject: Statement

Good afternoon Detective Colangelo:




I would like to revise my Voluntary Statement. Attached is the supplemental information that I would like added to
my May 11 , 2017 Voluntary Statement.




Please let me know when you would like me to come in , so that I may sign the revised statement.




Thank you,




Nicole Chase

860-480-7745




                                                                                                   DEF00864

                                                                                                 EXHIBIT U
             Case 3:18-cv-00683-VLB Document 141-24 Filed 10/01/19 Page 5 of 6


  Colangelo, John

  ;rom:                              Nicole Chase <nicolechase080290@gmail.com>
 Sent:                               vVednesday, August 16, 2017 9:45 AM
 To:                                 Colangelo, John
 Subject:                            RE: Statement



 Ok sorry for this misunderstanding. I thought the dispatcher told you thats why I was confused. Also thank you
 for the response! Hopefully good news will come soon! Please keep me posted if possible.
   Thanks,
      Nicole Chase

-()n Aug 10, 2017 8:21 A.NI, "Colangelo, John" <JC::::olan!!elo@townofcanto nct.org> wrote:

 Nicole, I apologize for the delay as I was on vacation. I did ask Officer Gompper to reach out to you but he said he
 could not mal<e phone contact. I understand you came down as dispatch told me you were here. I was asked if I
 needed to talk to you not that you were there to revise you statement. I was tied up on a different investigation at that
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 change in your recount of the incident and had already sent the case to court for review . It is still with the States
 Attorney's office and I should hopefully have some direction of the next step shortly.




 "ny questions feel free to contact me.




Detect ive John Colangelo




From: Nicole Chase [mailto:nicolechaseOS·o29o@omafl.com]
Sent: Monday, July 31, 2017 12:22 PM
To: Colangelo, John
Subject: Statement



Good afternoon Detective Colangelo:




I would like to revise my Voluntary Statement. Attached is the supplemental information that I would like added to
my May 11, 2017 Voluntary Statement.



 .ease let me know when you would like me to come in, so that I may sign the revised statement.



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                                                                                                    DEF00865

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           Case 3:18-cv-00683-VLB Document 141-24 Filed 10/01/19 Page 6 of 6

Colangelo, John

  ·om:                          Nicole Chase <nicoJechase080290@gmail.com>
..1ent:                         Tuesday, August 22, 2017 7:27 PM
To:                             Colangelo, John
Subject:                        Just checking in



Just checking in to see ifthere was any news on the case yet whether good or bad.
Thanks,
  Nicole Chase




                                                                                     DEF00866

                                                                                    EXHIBIT U
